                     Case 1:18-cv-00068-GLR Document 1-10 Filed 01/09/18 Page 1 of 3

    AO 440 (Rev. 12109) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Maryland

                       ERIEN LOIS FRAZIER
                                                                         )
                                Plainriff                               )
                                                                        )
                                   v.                                   )        Civil Action No.
        EXPERIAN INFORMATION SOLUTIONS. INC..
            TRANS UNION. LLC. EQUIFAX. INC.
                                                                        )
                                                                        )
                                                                                                       GLR 18 CV0068
                              Defendant                                 )


                                                      SUMMONS IN A CIVIL ACTION

  To: (Defendam's   name and address)       Experian Information Solutions, Inc.
                                            CT Corporation System
                                            351 W Camden Street
                                            Baltimore. MD 21201




           A lawsuit has been tlled against you.


           Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
 are the United States or a United States agency, or an oftlcer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and address are:       Erien L. Frazier
                                   P.O. Box 25
                                   Hagerstown. MD 21741




        If you fail to respond, judgment by default will be entered against you for the relief demanded               in the complaint.
You also must tlIe your answer or motion with the court.




                                                                                 CLERK OF COURT

Date:

                                                                                            Signarure a/Clerk or Deputy Clerk
                        Case 1:18-cv-00068-GLR Document 1-10 Filed 01/09/18 Page 2 of 3
        AO 440 (Rev. /2109) Summons in a Civil Action
                                                                                             ---------
                                                 UNITED STATES DISTRICT COURT
                                                                          for the

                                                                   District of Maryland

                          ERIEN LOIS FRAZIER
                                                                             )
                                    Plaintiff                               )
                                                                            )
                                       v.
                                                                            )        Civil Action No.
         EXPERIAN INFORMATION SOLUTIONS, INC.,                             )
             TRANS UNION, LLC, EQUIFAX, INC.
                                                                           )                             GLR 1 8 CV0068
                                  Defendant                                )


                                                         SUMMONS IN A CIVIL ACTION
    To; (Defendam    s name and address)        Trans Union, LLC
                                                CSC-Lawyers Incorporating Service
                                                7 St. Paul Street
                                                Suite 820
                                                Baltimore, MD 21202



             A lawsuit has been filed against you.


            Within 2/ days after service of this summons on you (not counting the day you received it) _ or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) - you must serve on the plaintiff' an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are:       Erien L. Frazier
                                            P.O. Box 25
                                            Hagerstown, MD 21741




         If you fail to respond, judgment by default will be entered against you forthe relief demanded                in the complaint.
 You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:


                                                                                             Signature a/Clerk or Deputy Clerk
                        Case 1:18-cv-00068-GLR Document 1-10 Filed 01/09/18 Page 3 of 3
                                                                                              ----------
        AO 440 (Rev, 12109) Summons in a Civil Action



                                                 UNITED STATES DISTRICT COURT
                                                                            for the

                                                                    District of Maryland

                          ERIEN LOIS FRAZIER
                                                                             )
                                    Plaintiff                                )
                                                                             )
                                       v.
                                                                            )         Civil Action No.
          EXPERIAN INFORMATION SOLUTIONS, INC.,                             )
              TRANS UNION, LLC, EQUIFAX, INC.
                                  Defendant
                                                                            )
                                                                            )
                                                                                                         GLR 1 R eVa 06
                                                          SUMMONS IN A CIVIL ACTION
   To: (Deftndom's name and address) Equifax, Inc
                                                The Prentice-Hall Corporation    System
                                                7 St. Paul Street
                                                Suite 820
                                                Baltimore, MD 21202



             A lawsuit has been filed against you.


            Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) Or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
  whose name and address are:       Erien L. Frazier
                                            P.O. Box 25
                                            Hagerstown, MD 21741




         If you fail to respond, judgment by defaullwill be entered against you for the relief demanded                  in the complaint.
 You also must file your answer or motion with the coun.




                                                                                      CLERK OF COURT

Date:                                       _


                                                                                               Signalure olClerk or Deputy Clerk
